           Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-0428V
                                     Filed: October 5, 2015
                                          Unpublished

****************************
JO ANN DREAS,                            *
                                         *
                    Petitioner,          *      Joint Stipulation on Damages;
                                         *      Tetanus-diphtheria-acellular pertussis
                                         *      Vaccine (“Tdap”); Shoulder Injury;
SECRETARY OF HEALTH                      *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
                                         *
****************************
Philip C. Denton, The Law Office of Philip C. Denton, St. Louis, MO, for petitioner.
Lara A. Englund, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On April 28, 2015, Jo Ann Dreas (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that she suffered a shoulder
injury due to the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine she received on
August 13, 2012. Petition (“Pet.”) at 1; Stipulation (“Stip.”), filed Oct. 2, 2015, at ¶¶ 2, 4.
Petitioner further alleges that she experienced the residual effects of this injury for more
than six months. Pet. at 2; Stip. at ¶ 4. Respondent denies that petitioner’s shoulder
injury, or any other injury or her current condition, was caused-in-fact by her Tdap
vaccination. Stip. at ¶ 6.




1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. Stip. at ¶ 7. On
October 2, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

      Respondent agrees to pay petitioner a lump sum of $50,000.00 in the form of a
check payable to petitioner. Stip. at ¶ 8. This amount represents compensation for all
damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. In the absence of a
motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                     2
Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 3 of 7
Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 4 of 7
Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 5 of 7
Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 6 of 7
Case 1:15-vv-00428-UNJ Document 27 Filed 11/13/15 Page 7 of 7
